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                               UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF KENTUCKY
                                     LOUISVILLE DIVISION
                              CIVIL ACTION NO. 3:16-CV-0050-GNS


 JANICE COLSTON, as Executrix of the
 Estate of Tommie Haugabook, deceased                                            PLAINTIFF


 v.


 REGENCY NURSING, LLC                                                           DEFENDANT


                                           JUDGMENT

        This matter having come before the Court on Defendant’s Motion for Summary

 Judgment (DN 34), and the Court on this dated having issued its Memorandum Opinion and

 Order granting the motion.

        IT IS HEREBY ORDERED that judgment be entered in favor of Defendant consistent

 with the Court’s Memorandum Opinion and Order.

        This is a final and appealable order.




                                                        Greg N. Stivers, Judge
                                                      United States District Court
                                                             February 6, 2018




 cc:    counsel of record
